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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 08-21158-Cr-SCOLA

  UNITED STATES OF AMERICA,

         Plaintiff,

  vs.

  STEVEN STEINER, et al.,

        Defendants.
  _____________________________________/
    ORDER ON MOTION FOR MENTAL COMPENCY EVALUATION AND HEARING
         THIS MATTER is before the Court on [ECF No. 701] the Government’s Motion for
  Mental Competency Evaluation and Hearing, as to Defendant Steven Steiner. In deciding this
  Motion, the Court has carefully considered the Government’s position, the Defendant’s
  Response, and the fact that an evaluation of Defendant is purportedly already underway at FDC
  in Case No. 12-cr-20123.
         Accordingly, it is hereby ORDERED and ADJUDGED that the Government’s Motion
  is GRANTED as follows:
         1) The Court orders a mental competency evaluation of Defendant.               The mental
             evaluation in Case No. 12-cr-20123, to the extent it is already underway, will be
             sufficient to satisfy this Order and a separate evaluation need not be performed.
         2) The Defendant shall provide the Court a copy of the evaluation upon receipt.
         3) Pursuant to 18 U.S.C. § 4241, once the report is received, and to the extent any
             remedial measures are required, the Court shall schedule a hearing to determine
             competency for trial, upon proper motion by the Government or Defendant.

         DONE and ORDERED in chambers, at Miami, Florida, on July 23, 2012.


                                                       ___________________________________
                                                       ROBERT N. SCOLA, JR.
                                                       UNITED STATES DISTRICT JUDGE

  Copies to:
  Counsel of record
